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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                )
MALLINCKRODT ARD LLC,                           )
                                                )
                      Plaintiff,                )
                                                )
                      v.                        )      Civil Action No. 1:19-cv-1471
                                                )
SEEMA VERMA,                                    )
in her official capacity as                     )
ADMINISTRATOR, CENTERS FOR                      )
MEDICARE & MEDICAID SERVICES,                   )
                                                )
and                                             )
                                                )
ALEX M. AZAR II,                                )
in his official capacity as SECRETARY,          )
UNITED STATES DEPARTMENT OF                     )
HEALTH AND HUMAN SERVICES,                      )
                                                )
                      Defendants.               )
                                                )



         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
           PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION



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Dated: May 22, 2019
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                                          INTRODUCTION

        This case is about an agency “Yes” that abruptly and inexplicably became an agency

“No”—accompanied by a bill for hundreds of millions of dollars.

        Years ago, Mallinckrodt’s predecessor approached the Centers for Medicare & Medicaid

Services (CMS) about updating the base date average manufacturer price (AMP) of its primary

product, Acthar Gel® (repository corticotropin) injection, following Acthar’s approval for

treatment of a new indication and a corresponding award of seven years’ marketing exclusivity.

A drug’s “base date AMP” is used to calculate the Medicaid rebate amount a manufacturer

remits to state Medicaid agencies. Because the base date AMP, once set, is generally used across

the life of the drug product, it is important to get it right.

        CMS agreed in 2012 that Acthar1 was eligible for a new base date AMP. In fact, CMS

agreed twice. In reliance upon the agency’s confirmations, Questcor began reporting a new base

date AMP for Acthar in 2013. Mallinckrodt continued that practice when it acquired Questcor

the following year.

        CMS has notified Mallinckrodt that it now believes Acthar is not eligible for the new

base date AMP Mallinckrodt has been reporting for years. It has not explained

why. Mallinckrodt has repeatedly sought that explanation, and for its part has repeatedly

explained to CMS that the agency’s about-face is unlawful. CMS’s new position conflicts with

the plain language of the Medicaid drug rebate statute. It violates CMS’s binding regulations.

And it deviates from the agency’s 2012 express statements to Questcor without adequate




1
  There are two Acthars in this case: One approved in 2010, and one in 1952. More detail on
each will come later. For simplicity’s sake, we will refer to the 2010 Acthar as “Acthar” and the
1952 Acthar as “H.P. Acthar Gel.”
                                                    1
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explanation or notice. For all of these reasons, CMS’s current position violates the

Administrative Procedure Act (APA).

       To make matters worse, CMS has insisted that Mallinckrodt “correct” Acthar’s base date

AMP in the Drug Data Reporting for Medicaid (DDR) system. That “correction” is not any

mere formality. It would automatically trigger adjustments to the Acthar drug rebate

calculations—not just prospectively, but retroactively, all the way back to 2013, resulting in

losses totaling in the hundreds of millions of dollars for Mallinckrodt. Mallinckrodt—and

Questcor before it—relied in good faith on the agency’s (twice repeated) 2012 statements that

Acthar is entitled to its own base date AMP. CMS did not even begin to question its own 2012

pronouncements until 2016; and to this date, the agency still has not given an adequate

explanation for its complete reversal on Acthar’s base date AMP. That violates basic notions of

fair notice, due process, and the prohibition on retroactive rulemaking. An agency is entitled to

change its mind. But not like this.

       All of this background forms the basis of Mallinckrodt’s complaint. This preliminary

injunction motion is necessitated by recent events. On May 10, 2019, CMS notified

Mallinckrodt that unless it reverts to the old base date AMP within fourteen days—by May 24,

2019—CMS will identify Mallinckrodt as being “out of compliance” with its Medicaid Drug

Rebate Program reporting requirements. An “out of compliance” finding has automatic

repercussions: A company deemed out of compliance is barred from submitting pricing data to

CMS. But Mallinckrodt is required to submit monthly pricing data to CMS. And the statute

imposes a harsh and automatic penalty for missing a reporting deadline: 90 days after a missed

deadline, Mallinckrodt will be suspended from the Medicaid Drug Rebate Program. See 42

U.S.C. § 1396r-8(b)(3)(C)(i). Mallinckrodt’s next reporting deadline is May 30, 2019. Ninety


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days from May 30—the day the suspension will take effect—is August 28. Mallinckrodt’s

suspension at that time will last until this dispute is resolved. That will mean no federal

payment—and no guaranteed Medicaid utilization coverage—for Acthar, which in turn will

threaten Medicaid patients’ access to the drug product.

       Both before and after filing suit, Mallinckrodt attempted to work with CMS—and then

with the Department of Justice—to try to come up with an interim solution that would obviate

the need for a preliminary injunction. Those efforts have been unsuccessful.

       Mallinckrodt therefore seeks issuance of a preliminary injunction as soon as possible—

but in any event before August 14, 2019—barring Defendants and those who “are in active

concert or participation” with them under Federal Rule of Civil Procedure 65(d)(2)(C) from

suspending Mallinckrodt from the Medicaid Drug Rebate Program and/or taking any other

enforcement action against Mallinckrodt until this Court has had the chance to consider the

agency’s conduct on the merits.

                                  FACTUAL BACKGROUND

The Medicaid Drug Rebate Program

       Congress established the Medicaid Drug Rebate Program in 1990, with the aim of

minimizing the price Medicaid pays for prescription drugs. See 42 U.S.C. § 1396r–8. In a

nutshell: for a covered outpatient drug to remain eligible for federal payment under Medicaid,

the drug’s manufacturer must (among other things) provide rebates to state Medicaid agencies

based on each state’s Medicaid beneficiaries’ utilization of the manufacturer’s covered outpatient

drugs during each calendar quarter. Id. § 1396r-8(b), (c). The rebates are then shared with the

federal government.




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       The unit rebate amount (URA) for a single source drug2 consists of the sum of two

components: the basic rebate and the additional rebate. Id. § 1396r-8(c). The basic rebate is the

greater of (i) the difference between the drug’s AMP and its best price, as defined by the statute

and CMS regulations,3 or (ii) a statutorily specified minimum rebate percentage of the drug’s

AMP. Id. § 1396r-8(c)(1)(A)(ii). The additional rebate is the amount, if any, by which the

drug’s AMP for the relevant quarter exceeds the “base date AMP,” a baseline measure related to

the drug’s price during a statutorily specified window of time,4 as adjusted by an inflation factor.

Id. § 1396r-8(c)(2)(A)(ii). The additional rebate thus requires drug manufacturers to pay greater

rebate amounts where price increases, as reflected in the current quarter’s AMP, outpace the rate

of inflation, as reflected in the inflation-adjusted base date AMP. So, for example, if (1) a drug’s

base date AMP was $100, (2) that base date AMP, when adjusted for inflation, is $110, and

(3) the drug’s AMP for the reporting quarter is $120, the drug’s price increase has outpaced the

rate of inflation, and the additional rebate amount is $120 - $110 = $10 (i.e., the difference

between the drug’s AMP for the relevant quarter and the base date AMP adjusted for inflation).

The URA is therefore increased by $10 (i.e., the additional rebate is added to the basic rebate).

       The statute requires drug manufacturers to calculate a distinct AMP and URA—and thus

a distinct base date AMP—for “each dosage form and strength of a single source drug.” 42


2
  We discuss the statutory and regulatory definitions of a “single source drug” on the next two
pages.
3
  The AMP is the average price paid in the United States by wholesalers and retail pharmacies,
and in some cases other commercial customers, including any discounts or rebates. 42 U.S.C.
§ 1396r-8(k)(1)(B). The best price is the lowest price paid by wholesalers, retailers, HMOs, non-
profits, or government entities, including discounts and rebates. Id. § 1396r-8(c)(1)(C).
4
  For a covered outpatient drug approved on or before October 1, 1990, base date AMP is the
AMP for the third quarter of 1990. 42 U.S.C. § 1396r-8(c)(2)(A)(ii)(II). For a covered
outpatient drug approved after October 1, 1990, base date AMP is the AMP for the first full
calendar quarter of sales. Id. § 1396r-8(c)(2)(B).
                                                 4
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U.S.C. § 1396r-8(c)(1)(A). In other words, a drug manufacturer must calculate a new base date

AMP if either (a) the product in question is a different single source drug, or (b) the product is a

different dosage form or strength of an existing single source drug.5

       Until April 18, 2019, Congress defined the term “single source drug” to mean “a covered

outpatient drug which is produced or distributed under an original new drug application

approved by the Food and Drug Administration.” Id. § 1396r-8(k)(7)(iv) (Nov. 5, 1990). More

recently, Congress has clarified that definition by deleting the word “original,” making clear that

all that matters is whether a drug is produced or distributed under a new drug application, unless

a “narrow exception” spelled out in CMS’s regulations applies. Id. (Apr. 18, 2019).

The FDA Drug Approval Process

       Under the Food, Drug, and Cosmetic Act (FDCA), all “new drugs” must be approved by

FDA before being introduced or delivered for introduction into interstate commerce. 21 U.S.C.

§§ 355(a), 331(d). Generally, a “new drug” is one that has not previously been recognized by

appropriate experts “as safe and effective for use under the conditions prescribed, recommended,

or suggested in the labeling thereof.” 21 U.S.C. § 321(p). Approval is sought through one of

three types of applications: a new drug application (NDA), an abbreviated new drug application

(ANDA), or a biologics license application (BLA). See 21 U.S.C. §§ 355(b) (governing NDAs),

355(j) (governing ANDAs); 42 U.S.C. § 262(a) (governing BLAs).

       A “new drug” may be a drug product that has never been approved, or it may be an

approved product with a change, such as a new intended use or indication, or a different strength

or dosage form. That is because such changes represent a change to the product itself and/or the

5
  See, e.g., Ipsen Biopharmaceuticals v. Price, Civil Action No. 1:16-cv-02372-DLF, ECF 24
(D.D.C. Sept. 24, 2018) at 2 (“If Somatuline ED is a new drug, Ipsen can calculate and report a
new base date AMP for it. If not, Ipsen must continue to use the AMP for the ‘old’ version of
Somatuline Depot Injection.”).
                                                  5
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“conditions prescribed, recommended, or suggested in the [product’s] labeling.” 21 U.S.C.

§ 321(p). Therefore, the sponsor must obtain FDA approval before marketing and distributing

the product with the change. Depending on the nature of the change, approval is sought by

submitting a new NDA, ANDA, or BLA, or a supplement to the already-approved application.

See, e.g., FDA, “Guidance for Industry: Submitting Separate Marketing Applications and

Clinical Data for Purposes of Assessing User Fees” (Dec. 2004).6

         For internal tracking purposes, FDA assigns each NDA a six-digit number, referred to as

the “NDA number.” See Drugs@FDA Glossary of Terms (defining “New Drug Application

(NDA)” and “New Drug Application (NDA) Number”).7

         FDA also assigns an “NDA Classification Code” to each NDA, which “describe[s]

FDA’s assessment of the relationship of the drug product in the application to its active moieties

and to drug products already marketed or approved in the United States.” FDA Center for Drug

Evaluation and Research Manual of Policies and Procedures, MAPP 5018.2, “NDA

Classification Codes” at 9.8




6
 Available at
https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/
UCM079320.pdf.
7
    Available at https://www.fda.gov/drugs/informationondrugs/ucm079436.htm.
8
  Available at
https://www.fda.gov/downloads/aboutfda/centersoffices/officeofmedicalproductsandtobacco/cde
r/manualofpoliciesprocedures/ucm470773.pdf. By way of example, a Type 1 NDA is an
application seeking approval of a drug that contains a new molecular entity (NME) (i.e., an
active ingredient that contains no active moiety that has previously been approved by FDA or
marketed in the United States), and a Type 3 NDA is for a new dosage form of an active
ingredient that has previously been approved or marketed. Id. at 2–3.
                                                6
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CMS Regulations and Guidance Governing “Single Source Drug”

       In February 2016, CMS finalized a rule relating to the Medicaid Drug Rebate Program.

The resulting regulations explain that a “single source drug,” for purposes of the agency’s

regulations and the Medicaid Drug Rebate Program, means:

          [A] covered outpatient drug that is produced or distributed under an original
          NDA approved by FDA and has an approved NDA number issued by FDA . . .
          .

          For purposes of this definition and the [Medicaid Drug Rebate Program], an
          original NDA means an NDA, other than an ANDA, approved by the FDA for
          marketing, unless CMS determines that a narrow exception applies.

42 C.F.R. § 447.502 (definition of “single source drug”) (emphasis added).

       In the preamble to the Final Rule adopting this regulation (and again in subsequent

guidance), CMS confirmed that the “narrow exception” to which the regulation refers is indeed

“very narrow.” More pointedly, CMS explained that the exception “will not be considered

applicable” to drugs “that received patent protection or statutory exclusivity.”9 Medicaid

Program; Covered Outpatient Drugs, 81 Fed. Reg. 5170-01, 5192 (Feb. 1, 2016); accord CMS,

Mfr. Release No. 98, Drug Category Narrow Exception Guidance (May 2, 2016) (“The narrow

exception will not be granted under the following circumstances: . . . Drugs that received patent

protection or statutory exclusivity, regardless of whether the protection or exclusivity is currently




9
  The FDCA provides a number of incentives to encourage companies to develop and seek
approval of new drugs, including periods of marketing exclusivity (during which certain
competing products may not be brought to market) and certain patent-related benefits. See, e.g.,
21 U.S.C. §§ 355(c)(3)(C), (E), 355(j)(5)(B), (F); 42 U.S.C. § 262(k)(7). One such incentive is
designed to encourage manufacturers to develop and test drugs to treat rare diseases or
conditions. Approved “orphan drugs” can receive seven years of marketing exclusivity, during
which FDA generally is precluded from approving another application for a product that is the
same drug and intended to treat the same rare disease or condition. 21 U.S.C. § 360cc(a).
                                                 7
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in effect.”).10 The “narrow exception” also “requires” both “the manufacturer’s written

submission to CMS” and “CMS’s response confirming whether or not the exception applies.” 81

Fed. Reg. at 5194.

       The Final Rule was published in February 2016 and became effective two months later.

But what it said was nothing new: CMS made clear during the rulemaking process that the

regulatory definition of “single source drug” did not reflect a new agency policy, but instead

merely was “designed to clarify existing policy regarding the definitions of original NDA and

single source drugs.” 81 Fed. Reg. at 5193; see also id. at 5196 (“Our proposed language was

not designed to change CMS policy, but rather to provide further clarification that an ‘original

NDA’ means an NDA, other than an ANDA, approved by the FDA for marketing, unless the

narrow exception discussed above applies.”).

Acthar’s Approval Under a New NDA

       H.P. Acthar Gel (as it was known at the time) was first approved by FDA in 1952 under

NDA 008372.11 Verified Complaint ¶ 27. H.P. Acthar Gel is an injection that contains a

naturally occurring hormone, adrenocorticotropic hormone (ACTH). Id. It has been approved

by FDA for use in treating more than 50 diseases over the years, including multiple sclerosis and

nephrotic syndrome. Id.

       One of the diseases for which doctors gravitated over time to Acthar was infantile

spasms, or IS. IS is a rare but devastating seizure disorder occurring in infants and children


10
  Available at https://www.medicaid.gov/medicaid-chip-program-information/by-
topics/prescription-drugs/downloads/rx-releases/mfr-releases/mfr-rel-098.pdf.
11
   See FDA, Drugs@FDA (Approval Date(s) and History, Letters, Labels, Reviews for NDA
008372), available at
https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=0
08372.
                                                 8
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under the age of two; left untreated, it greatly increases the risk of developmental disability. Id.

¶ 28. Although H.P. Acthar Gel was not at first approved to treat IS, physicians started using the

product “off label” for that purpose, because a growing body of evidence, including from

published clinical studies, indicated that H.P. Acthar Gel was useful in treating IS. Id. Over

time, H.P. Acthar Gel became the treatment of choice for IS. See, e.g., NDA 022432 Summary

Review at 1.12

         In 1995, FDA identified manufacturing problems at the facility making H.P. Acthar

Gel, causing the then-manufacturer to suspend production of the drug product, which in turn led

to a supply shortage. See Warren E. Leary, A Company Stops Making a Child Drug, New York

Times Feb. 24, 1996.13 That caused an outcry by physicians and patients seeking continued

access to the drug product. Id. The manufacturer eventually agreed to continue to produce a

limited number of doses, which were rationed to critical patients through a tightly controlled

access program administered by the National Organization for Rare Disorders.14 At the time

Questcor acquired H.P. Acthar Gel in 2001, the previous owner was losing millions of dollars a

year on the drug product.15

       Upon acquisition of the drug product, Questcor now faced the challenge of making H.P.

Acthar Gel profitable. In 2006, Questcor sought to have the product approved by FDA for the



12
  Available at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2010/022432Orig1s0900SumR.pdf (PDF
p.2).
13
  Available at https://www.nytimes.com/1996/02/24/us/a-company-stops-making-a-child-
drug.html.
14
   See id.; see also Questcor 10-K (Mar. 14, 2002), available at
https://www.sec.gov/Archives/edgar/data/891288/000089161802001283/f79414e10-k.htm.
15
  Burnham, et al., Pricing for Survival in the Biopharma Industry: A Case Study of Acthar Gel
and Questcor Pharmaceuticals, 15(4) J. of Inv. Mgmt. 69, 72 (2017).
                                                  9
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treatment of IS. Verified Complaint ¶ 29; see also FDA Approval Package for Questcor.16 In

general, drug manufacturers are prohibited from advertising or marketing drugs for off-label

use17; FDA approval of the IS indication thus would free Questcor to market H.P. Acthar Gel for

treating IS. Questcor submitted its request for approval, which presented information and data

from published literature on the use of H.P. Acthar Gel for IS, to FDA as a supplement to the

existing NDA (sNDA). Verified Complaint ¶ 29. In May 2007, FDA issued what is now called

a “Complete Response Letter,” in which the agency declined to approve Questcor’s sNDA,

explaining that the company had not shown a sufficient nexus between the product and the

relied-upon studies to meet the standards for approval. Id.

       Consistent with FDA procedure, the sNDA remained pending while Questcor and FDA

reached agreement on how to address the asserted inadequacy, and the company set about

developing the necessary data. Id. ¶ 30. During this period, FDA unilaterally converted the

sNDA to a new, separate NDA, to which (consistent with standard procedures) the agency

assigned a distinct NDA number: NDA 022432. Id.; see also August 8, 2008 FDA




16
   Available at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2010/022432_hp_acthar_gel_toc.cfm.
17
   This prohibition is grounded in the requirement that FDA approve a drug product for its
intended use; if a drug lacks FDA-approved directions for the intended use, it is considered
misbranded. See, e.g., 21 U.S.C. §§ 331(d), 355(a) (FDA approval); id. §§ 331(a), 352(f)(1)
(misbranding, adequate directions for use); see also, e.g., FDA Memorandum, Public Health
Interests and First Amendment Considerations Related to Manufacturer Communications
Regarding Unapproved Uses of Approved or Cleared Medical Products at 35–38 (Jan. 2017),
available at https://www.regulations.gov/document?D=FDA-2016-N-1149-0040; FDA
Guidance for Industry: Medical Product Communications That Are Consistent with the FDA-
Required Labeling—Questions and Answers (June 2018), available at
https://www.fda.gov/media/102575/download; Nathan Cortez, The Statutory Case Against Off-
Label Promotion, U. Chi. L. Rev. Online (2016), available at https://ssrn.com/abstract=3035413.
                                                10
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Memorandum Re Creating Type 6 NDA.18 The agency took this action because it concluded the

IS indication was fundamentally different from the other uses for which the product had been

approved, and required review by a different component within FDA than had to date been

responsible for the drug. FDA Memorandum (August 8, 2008).19 The new NDA was classified

as a “Type 6” NDA, which was used for drug products that had already been approved or

marketed by the same applicant, but were intended for a new indication or claim.20

       While it was seeking FDA approval for the IS indication, Questcor also invested in

modernizing Acthar’s complex manufacturing process to assure continued compliance with FDA

standards. See Press Release, Questcor Pharmaceuticals, Inc., Questcor Board Approves New

Strategy and Business Model for H.P. Acthar Gel (Aug. 27, 2007).21 Questcor’s net losses on

Acthar were $10.1 million in 2006 and $5.5 million in 2007. Id. In August 2007, Questcor

announced a new pricing model in order to “create an economic model that will allow Questcor

to support ongoing efforts to manufacture and distribute Acthar, to conduct any FDA-required




18
   Available at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2010/022432Orig1s000AdminCorres.pdf
(PDF p.69) (explaining that IS indication required review by Division of Neurology Products,
not Division of Metabolic and Endocrine Products).
19
   Available at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2010/022432Orig1s000AdminCorres.pdf
(PDF p.69) (explaining that IS indication required review by Division of Neurology Products,
not Division of Metabolic and Endocrine Products).
20
 Id.; see, e.g., MAPP 5018.2 at 5. FDA no longer uses Type 6, instead classifying NDAs that
would have fallen into that category as either Type 9 or Type 10. Id.
21
  Available at http://phx.corporate-ir.net/phoenix.zhtml?c=89528&p=irol-
newsArticle&ID=1044912&highlight.
                                               11
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studies, to continue development of QSC-001, and to develop or acquire other drugs or drug

candidates for neurological disorders or for rare diseases.” Id.22

          In December 2009, Questcor provided the information, data, and analysis FDA had

identified as necessary for approval. It submitted that material under the new, separate NDA

022432 that FDA had created for Questcor’s use in seeking approval to market H.P. Acthar Gel

to treat IS. Verified Complaint ¶ 31.

          FDA approved NDA 022432 in October 2010, permitting Acthar to be marketed and

distributed for the treatment of IS. Id. ¶ 32; October 15, 2010 FDA Approval Letter for Acthar.23

In addition to approving the new IS indication, FDA required multiple significant changes to

Acthar’s labeling as a condition of approval. These changes included removing more than 30

previously approved indications, requiring a “risk evaluation and mitigation strategy” (REMS)

and a “Medication Guide” for the IS indication, revising certain “Dosage and Administration”

information, and adding a new section on pediatric indications.24

          With approval of NDA 022432, FDA also granted Questcor seven years of orphan drug

exclusivity, a form of statutory marketing exclusivity, precluding approval of any other entity’s

NDA, ANDA, or BLA for repository corticotropin to treat IS. Exhibit 1 (Letter from FDA dated

Nov. 17, 2011).25



22
  A subsequent case study found that without this new pricing model, Questcor would have
become insolvent between 2008 and 2010. Burnham et al., Pricing for Survival in the
Biopharma Industry, supra at 69–91.
23
   Available at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2010/022432Orig1s000Approv.pdf.
24
   FDA, Acthar Summary Review and Risk Evaluation and Mitigation Strategy, available at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2010/022432Orig1s0900SumR.pdf;
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2010/022432Orig1s000REMS.pdf.
25
     All referenced Exhibits are attached to the Verified Complaint.
                                                  12
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       FDA acknowledged the grant of orphan exclusivity in a letter dated November 17, 2011,

which specifically tied the statutory exclusivity to the new NDA, both by number and by date:

“The seven year exclusive approval began on October 15, 2010, the date of approval of your

New Drug Application (22-432).” Exhibit 1 (emphasis added).

       Acthar’s orphan exclusivity continued until October 2017. Verified Complaint ¶ 35.

CMS Determines in 2012 That Acthar Is a Single Source Drug Entitled to Its Own Base
Date AMP

       In early 2012, following FDA’s approval of Acthar for IS and grant of orphan drug

statutory exclusivity, Questcor requested permission from CMS to establish a new base date

AMP for Acthar. Exhibit 2 (Letter from Questcor to CMS dated May 8, 2012).

       In that letter, Questcor explained that, because the company was still using the 1990 base

date AMP for Acthar, the company’s Medicaid rebate liability actually exceeded its Medicaid

revenue for the drug. Id. Because a significant percentage of IS patients are covered by

Medicaid, the financial impact on the company from the upside-down rebate-to-revenue delta

was significant. And because Questcor effectively was a single-product company, it had no

other product revenue to offset those losses. Id.

       Questcor also acknowledged that the agency might decline to grant Questcor’s request to

establish the new base date AMP. But Questcor explained that, without a new base date AMP,

“Questcor’s continued participation in the [Medicaid Drug Rebate Program] may simply be

untenable because that participation generates greater rebate liability and negative revenue for

the company.” Id. at 2. Questcor also noted its belief that “state Medicaid programs likely still

will be required to cover Acthar’s use for infantile spasms even if Questcor does exit the




                                                13
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program.” Id. In other words, if Questcor exited the MDRP, the Medicaid program would still

have to cover Acthar, and Questcor would not have to pay any rebate at all.26

        In laying out its request for a new base date AMP, Questcor noted that FDA had said it

would be taking steps to associate NDA 022432 with the other NDA, number 008372.

Specifically, Questcor advised CMS:

        The FDA has informed Questcor that the agency intends to revise its record so
        that the approval for infantile spasms is reflected as part of the product’s original
        NDA, No. 08-372. That has not yet occurred.

Id. at 3 n.4.

        CMS responded to Questcor’s May 2012 letter several months later. Exhibit 3 (August 6,

2012 Letter from CMS to Questcor). In its response, CMS concluded that Acthar with the IS

indication is a distinct single source drug that qualifies for a new base date AMP, specifically

citing the FDA approval under NDA 022432 as the legal basis for the new base date AMP. In

doing so, the agency made clear its position that, if a drug product was “approved under” an

original NDA, it is treated as a distinct single source drug entitled to its own base date AMP.

The agency explained its reasoning as follows:

        Section 1927(c)(2)(A) defines the base date AMP, in part, for each single source
        or innovator multiple source drug approved by the FDA before or after October 1,
        1990. In accordance with that provision, the base date AMP is calculated based
        on the new drug application which is approved by the FDA, not the national drug
        code (NDC). Therefore, given that the recently approved Acthar Gel was
        approved under a different ND[A]27 from the original product, Questcor may set a
        new base date AMP for this drug.
26
   The Medicaid statute requires states to cover drugs prescribed for pediatric beneficiaries under
the Early and Periodic Screening, Diagnostic, and Treatment (EPSDT) benefit, defined at 42
U.S.C. § 1905(r), without regard to whether a drug’s manufacturer is a participant in the MDRP.
EPSDT is a Medicaid benefit that provides all beneficiaries under age 21 with coverage of a
comprehensive set of prevention, screening, diagnostic, and treatment services. Acthar likely
would have been covered for this population under the EPSDT benefit.
27
  While the agency referred to an “NDC” here, instead of an “NDA,” that was a scrivener’s
error, as its subsequent letter (Exhibit 4) confirmed.
                                                  14
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Exhibit 3 (emphasis added).

         In September 2012, CMS reiterated its approval—and corrected an error in its prior

communication. Exhibit 4 (Sept. 19, 2012 Letter from CMS to Questcor). As the agency

explained there, its August letter had “noted that, given that Acthar Gel was approved under a

different National Drug Code (NDC) from the original product, Questcor Pharmaceuticals may

set a new base date AMP for this drug. This was a misstatement on our part.” Id. The agency

further explained:

         As noted in your letter of May 8, 2012, the FDA approved Acthar Gel through a
         New Drug Application (NDA) for use in treating the orphan condition of
         infantile spasms. Accordingly, we would like to correct our earlier reply to note
         that because Acthar was approved under a new NDA, Questcor may set a new
         base date AMP. We apologize for any confusion.

Exhibit 4 (emphasis added).

         Acting in reliance on CMS’s statements, Questcor in 2013 began reporting the new

Acthar base date AMP. Verified Complaint ¶ 42.

         In August 2014, Mallinckrodt acquired Questcor for $5.8 billion, also in reliance on

CMS’s stated position regarding Acthar’s base date AMP. Id. ¶ 43. Since then, Mallinckrodt

has invested more than $500 million in Acthar, including investment into health economic and

outcomes research and well-controlled clinical trials. Id.28

         In March 2015, FDA granted Questcor’s request—made prior to the Mallinckrodt

acquisition—for the IS indication to be “associated with the parent NDA number 008372, since




28
     See also http://www.mallinckrodt.com/about/acthar/.
                                                 15
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the tracking NDA number 022432 will no longer be used.” Letter from FDA to Questcor dated

March 24, 2015.29

       Nonetheless, FDA’s records continue to accurately reflect that Acthar was approved

under NDA 022432. Thus, for example, FDA’s on-line database Drugs@FDA—a source of

“official information about FDA approved innovator and generic drugs”30—lists Acthar as

having been approved to treat IS under the second, independent NDA number, NDA

022432.31 In addition, the National Drug Code Directory similarly lists Acthar’s NDA number

as 022432. See FDA, National Drug Code Directory.32 That listing was updated as recently as

April 2019, with FDA’s knowledge and approval. CMS encourages manufacturers to check both

of these official FDA sources to confirm the accuracy of a drug’s NDA number before

calculating its base date AMP. See CMS, Mfr. Release Nos. 80, 82.33

       In addition, Acthar’s bulk active ingredient is imported into the United States from

Canada under NDA 022432. Verified Complaint ¶ 47; Exhibit 5.

CMS Begins to Question Its Own 2012 Statements

       In April 2016, CMS wrote to Mallinckrodt and stated: “It has recently come to our

attention that even though [Acthar] is shown to be approved under NDA 022432 on


29
   Available at
https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2015/008372Orig1s044ltr.pdf.
30
   FDA, Drugs@FDA, Frequently Asked Questions, available at
https://www.fda.gov/drugs/informationondrugs/ucm075234.htm (last visited May 22, 2019).
31
   FDA, Drugs@FDA, available at
https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=0
22432 (last visited May 22, 2019).
32
  Available at https://www.accessdata.fda.gov/scripts/cder/ndc/index.cfm (search for “022432”
under “Application Number”).
33
   Available at https://www.medicaid.gov/medicaid/prescription-drugs/program-
releases/index.html.
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Drugs@FDA, [Acthar] is listed as approved under NDA 008372 on [the] FDA Online Label

Repository.” Exhibit 6 (Letter from CMS to Questcor dated April 13, 2016).

          In contrast to the official Drugs@FDA website, the “On-Line Label Repository” is based

on information submitted by manufacturers that is not verified by FDA. That is why it contains

the following “IMPORTANT DISCLAIMER”:

          The drug labels and other drug-specific information on this Web site represent the
          most recent drug listing information companies have submitted to the Food and
          Drug Administration (FDA). . . . The drug labeling and other information has
          been reformatted to make it easier to read but its content has neither been altered
          nor verified by FDA.

See FDA Online Label Repository Home Page (emphasis added).34

          CMS’s letter continued: “As a result of this discrepancy, we have reviewed the approval

status of [Acthar] and it is our understanding that [Acthar] is marketed under NDA 008372 not

NDA 022432.” Exhibit 6. CMS also noted that although Acthar’s approval letter was assigned

NDA number 022432, the approval letter also indicated that most future submissions “should be

addressed to” NDA 008372. Id. CMS requested that Mallinckrodt “review and correct the

reporting of its product data in DDR to ensure that accurate information is reported to the MDR

program.” Id. The letter also noted that “the baseline data of an NDC for a single source drug . .

. must follow the NDA.”

          After receiving CMS’s letter, Mallinckrodt corrected the error on the On-Line Label

Repository website, so that it now correctly identifies NDA 022432 as the NDA number under

which Acthar was approved. See FDA Online Label Repository Home Page (emphasis added).35




34
     Available at https://labels.fda.gov/.
35
     Available at https://labels.fda.gov/.
                                                  17
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Mallinckrodt also notified CMS that it had done so. Exhibit 7 (Email dated July 29, 2016 from

Mallinckrodt to CMS).

       In June 2016, CMS again requested that Mallinckrodt update the “baseline information”

for Acthar—but this time for a completely different reason. In an email to Mallinckrodt, the

agency no longer referred to the Online Label Repository or the Acthar approval letter; instead it

referenced a CMS guidance document to argue that “the baseline data of a purchased product

should be the same as the baseline data of a product marketed under the same NDA.” Exhibit 7

(Email dated June 2, 2016 from CMS to Mallinckrodt) (emphasis added).

       The referenced CMS guidance (referred to as “Manufacturer Release #90”) relates to

treatment of baseline data when manufacturers are buying or selling drug products, including

when one drug manufacturer buys a drug product from another drug manufacturer.36 In other

words, CMS appears to have mistakenly thought in June 2016 that Mallinckrodt’s 2014 purchase

of Acthar was the basis for the 2012 new base date AMP.

       Mallinckrodt explained in response that the cited CMS guidance was inapplicable: “In

your email, you indicate that the base date AMP for a ‘purchased product’ should not be altered.

We want to note that Mallinckrodt’s purchase of Acthar from Questcor in 2014 was not the basis

of CMS’s confirmation to Questcor of the appropriateness of a new base date AMP in the

agency’s letter to Questcor dated August 6, 2012, which was two years before Mallinckrodt’s

acquisition of Questcor.” Exhibit 7 (Email dated July 6, 2016 from Mallinckrodt to CMS).

       Mallinckrodt subsequently made multiple attempts to explain to CMS—in emails and

letters, and through an in-person meeting—that its new position was wrong. CMS offered a new

and conflicting view each time. See Exhibits 7 through 10. And, although discussions between

36
  Available at https://www.medicaid.gov/Medicaid-CHIP-Program-Information/By-
Topics/Prescription-Drugs/Downloads/Rx-Releases/MFR-Releases/mfr-rel-090.pdf.
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the parties continued until recently, at no point did CMS reconcile its 2012 decision with the

agency’s new position, let alone even acknowledge that it had previously taken a different

position. Ibid.

       On March 27, 2019, shortly before a scheduled March 29th meeting, CMS informed

Mallinckrodt—for the first time—that the agency had “concluded that the April 13, 2016 letter

from CMS to Mallinckrodt constituted CMS’ final decision on the relevant issue. Therefore,

given that there is a final CMS decision on this issue, any meeting . . . would not and could not

be productive.” Exhibit 11. Although Mallinckrodt has continued to seek further dialogue with

the agency since then, those efforts have been rebuffed.

       On Friday, May 10, 2019, CMS informed Mallinckrodt that the company would be

declared “out of compliance” in the DDR unless it updated the base date AMP for Acthar within

14 days—meaning by May 24, 2019. Exhibit 12. Once Mallinckrodt is deemed “out of

compliance,” “the submission of pricing records or updates to product data will not be allowed

online or via file transfer.” Id. But Mallinckrodt is required to submit monthly AMP data to

CMS. See 42 C.F.R. § 447.510(d)(1) (“A manufacturer must submit a monthly AMP to CMS

not later than 30 days after the last day of each prior month.”) So the clock starts ticking next

week: Absent judicial intervention, 90 days after the May 30 reporting deadline—meaning on

August 28—Mallinckrodt will automatically be suspended from participating in the Medicaid

drug rebate program, for at least a month. 42 U.S.C. § 1396r-8(b)(3)(C)(i) (providing that if

information “is not reported within 90 days of the deadline imposed, the agreement shall be

suspended for services furnished after the end of such 90-day period and until the date such

information is reported (but in no case shall such suspension be for a period of less than 30

days)”) (emphasis added). That would cause severe and irreparable harm not just to


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Mallinckrodt, but also to the public at large, as Medicaid patients could be denied critical access

to Acthar.

       Both before and after filing this lawsuit, Mallinckrodt attempted to work with CMS—and

then with the Department of Justice—to try to agree upon an interim solution that would obviate

the need for a preliminary injunction. Those efforts have been unsuccessful. That is why

Mallinckrodt seeks this preliminary injunction prohibiting Defendants from suspending

Mallinckrodt’s participation in the Medicaid Drug Rebate Program and/or from taking any other

enforcement action against Mallinckrodt.

                                           ARGUMENT

       To secure a preliminary injunction, a movant must establish (1) “that he is likely to

succeed on the merits,” (2) “that he is likely to suffer irreparable harm in the absence of

preliminary relief,” (3) “that the balance of equities tips in his favor,” and (4) ”that an injunction

is in the public interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); see

also Council on American-Islamic Relations v. Gaubatz, 667 F. Supp. 2d 67, 74 (D.D.C. 2009).

All four factors strongly favor granting a preliminary injunction here.

  I.   MALLINCKRODT IS LIKELY TO PREVAIL ON THE MERITS.

       The APA requires a reviewing court to “hold unlawful and set aside agency action,

findings, and conclusions found to be arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A). There are a number of well-trod legal

principles that emerge from this statutory mandate. As relevant here: Agency action is routinely

set aside as unlawful when it violates a statute. See Util. Air Regulatory Grp. v. EPA, 134 S. Ct.

2427, 2439 (2014) (agencies must “stay[] within the bounds of their statutory authority”). The

same is true when an agency departs from its own regulations. Reuters Ltd. v. FCC, 781 F.2d


                                                  20
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946, 950 (D.C. Cir. 1986) (“it is elementary that an agency must adhere to its own rules and

regulations”). Agency action is arbitrary and capricious when it reflects a want of reasoned

decision-making, see Fox v. Clinton, 684 F.3d 67, 80 (D.C. Cir. 2012), or when an agency

changes its position without offering an adequate explanation. New York Cross Harbor R.R. v.

Surface Transp. Bd., 374 F.3d 1177, 1183 (D.C. Cir. 2004). Finally, agency action is unlawful

when the agency fails to give regulated entities fair notice of a new policy position, SNR

Wireless LicenseCo, LLC v. FCC, 868 F.3d 1021, 1043 (D.C. Cir. 2017), or retroactively

imposes new policies in an adjudication in a manner that is inequitable. See Retail, Wholesale

and Dep’t Store Union, AFL-CIO v. NLRB, 466 F.2d 380, 390–391 (D.C. Cir. 1972).

       CMS’s newfound insistence that Acthar is not a distinct “single source drug” entitled to

its own base date AMP violates all of these principles. It conflicts with the plain language of the

Medicaid drug rebate statute. It violates CMS’s binding regulations. It deviates from CMS’s

own statements to Questcor in 2012 without adequate explanation or notice. Finally, and most

egregiously, CMS’s effort to force Mallinckrodt to retroactively “correct” its base date AMP

during a time period when the agency was actively encouraging Questcor and Mallinckrodt to

use the now-disavowed base date AMP violates basic principles of fair notice and due process, as

well as the prohibition on retroactive rulemaking. It therefore should be overturned.

           A. CMS’s Determination That Acthar Is Not A “Single Source Drug” Cannot
              Be Reconciled With The Medicaid Drug Rebate Statute.

       Agencies must “stay[] within the bounds of their statutory authority.” Util. Air

Regulatory Grp., 134 S. Ct. at 2439. “Both their power to act and how they are to act is

authoritatively prescribed by Congress.” City of Arlington, Tex. v. FCC, 569 U.S. 290, 297

(2013). CMS has failed to observe those limits here: its determination that Acthar is not entitled

to a distinct base date AMP cannot be reconciled with the governing statute.
                                                21
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        Until April 18, 2019, the Medicaid Drug Rebate Program statute expressly defined

“single source drug” to mean “a covered outpatient drug which is produced or distributed under

an original new drug application approved by the Food and Drug Administration.” 42 U.S.C.

§ 1396r-8(k)(7)(iv) (Nov. 5, 1990) (emphasis added). Acthar was approved under an original

NDA. The term “original” has a plain and ordinary meaning in this context that requires no

particular deference to the agency: it means separate or legally distinct. See, e.g., Original,

Oxford English Dictionary (2019) (“Having the quality of that which proceeds directly from

oneself”; “such as has not been done or produced before”); Black’s Law Dictionary (10th ed.

2014) (original: “bearing its own authority, and not deriving authority from an outside source; as

original jurisdiction, original writ”).

        Lest there be any doubt, Congress clarified this point when it recently updated the

definition of “single source drug” to delete the word “original.” See 42 U.S.C. § 1396r-

8(k)(7)(iv) (Apr. 18, 2019). As the clarified definition spells out, all that matters is whether the

application is an NDA (as opposed to an ANDA), unless the “narrow exception” spelled out in

CMS’s regulation applies (and here it undisputedly does not). See discussion infra. Both before

and after the amendment, then, Acthar was approved under a distinct drug application to trigger

the statutory definition of “single source drug.”

        Acthar is also “produced or distributed” under that distinct NDA. Acthar is a “new drug”

that could not have been lawfully marketed for treatment of IS without FDA approval. 21 U.S.C.

§ 355(a). That approval was obtained via NDA 022432.37 Consequently, when FDA recognized

Acthar’s statutory orphan drug exclusivity for treatment of IS in November 2011, it specifically

37
   Indeed, in determining that Acthar was eligible for a distinct base date AMP in 2012, CMS
indicated that the inquiry of whether a drug is “produced or distributed” under an NDA is
effectively coterminous with the inquiry of whether it was “approved under” that NDA. See,
e.g., Exhibit 3 (August 2012 letter); Exhibit 4 (September 2012 letter).
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tied the exclusivity to the new NDA, both by number and by date. Exhibit 1 (Nov. 2011 letter

from FDA) (“The seven year exclusive approval began on October 15, 2010, the date of

approval of your New Drug Application (22-432).”) (emphasis added). The product was

distributed under the protection of that exclusivity until 2017, when the exclusivity expired.

Verified Complaint ¶ 35.

        CMS encourages manufacturers to check Drugs@FDA—a source of “official information

about FDA approved innovator and generic drugs”38—and the NDC Directory maintained by

FDA to confirm the accuracy of a drug’s NDA number before determining the base date AMP.

See CMS, Mfr. Release No. 80; CMS, Mfr. Release No. 82.39 Acthar is listed on both of these

official FDA sources as having been approved to treat IS under NDA 022432.40 And, to this

date, Mallinckrodt imports the bulk active ingredient for Acthar into the United States from

Canada under NDA 022432. Exhibit 5.

        All of these facts point to one answer: Acthar is both “produced” and “distributed”

(although either alone would suffice) under NDA 022432. And because Acthar is produced or

distributed under a distinct NDA, it is a “single source drug” eligible for its own base date AMP

under the plain meaning of the statute. 42 U.S.C. § 1396r-8(k)(7)(iv). CMS’s current position

therefore is in error.



38
   FDA, Drugs@FDA, Frequently Asked Questions, available at
https://www.fda.gov/drugs/informationondrugs/ucm075234.htm.
39
   Available at https://www.medicaid.gov/medicaid/prescription-drugs/program-
releases/index.html.
40
   FDA, Drugs@FDA, available at
https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=0
22432; FDA, NDC Directory, available at
https://www.accessdata.fda.gov/scripts/cder/ndc/index.cfm (search for “022432” under
“Application Number” or “Acthar” under “Proprietary Name”).
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       The agency has not set forth a compelling argument to the contrary. In its April 2016

letter—which the agency now asserts was its “final decision”—CMS side-stepped the language

of the statute entirely. Exhibit 6. Instead, the agency noted its “understanding that [Acthar] is

marketed under NDA 008372 not NDA 022432.” Id. (emphasis added). In support of this

assertion, CMS merely noted that the FDA approval letter for Acthar indicated that specified

future submissions to FDA “should be addressed to the original NDA 008372 for this drug

product, not to this NDA [022432].” Id. Maybe so. But the fact that FDA requested Questcor to

submit certain future regulatory submissions to NDA 008372 does not mean that Acthar is

“produced or distributed under” that NDA. CMS has offered no explanation to the contrary.

       A quick note on Chevron deference. The statutory language is clear on its face. But even

if it were not, CMS’s current interpretation would not be entitled to deference, particularly given

the agency’s ever-shifting explanation as to why Acthar is not a “single source drug.” The

CliffsNotes version: CMS first cited the fact that the wrong NDA number briefly appeared in the

(self-reported) On-Line Label Repository (it was corrected), Exhibit 6 (April 13, 2016 letter);

then mistakenly insisted that Acthar was a “purchased product” under CMS’s Manufacturer

Release Number 90 guidance document (it was not), Exhibit 7 (June 2, 2016 email); then

changed course and admitted that Acthar had been approved under NDA 022432 but noting that

that NDA was “administratively closed upon approval” such that “marketing of the drug” was

under NDA 008372, id. (March 20, 2017 email); then shifted its explanation again and asserted

that Acthar is currently being “produced or distributed” under NDA 008372, Exhibit 8 (March

12, 2019 letter). Then, in a surprise twist, notwithstanding three years of back-and-forth, the

agency asserted that its “final decision” had actually been rendered three years earlier, back with

the initial (faulty) explanation. Exhibit 11 (March 27, 2019 email).


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       In the end, the agency does not appear to have endorsed any single interpretation of the

key statutory term at all in its treatment of Acthar. Deference is inappropriate in such

circumstances. See SEC v. Sec. Inv’r Prot. Corp., 872 F. Supp. 2d 1, 10 (D.D.C. 2012)

(agency’s more recently adopted position that is inconsistent with earlier position “is entitled to

little, if any, deference”); Foothill Hosp.–Morris L. Johnston Mem’l v. Leavitt, 558 F. Supp. 2d

1, 6–7 (D.D.C. 2008) (“the Secretary’s interpretation is entitled to less deference where it has

been inconsistent over the years”). See also Prevor v. FDA, 895 F. Supp. 2d 90, 97 (D.D.C.

2012) (same). Indeed, if this Court were to defer to anything, it would have to defer to the

agency’s interpretation as espoused in its own regulation, issued through notice-and-comment

rulemaking—and that regulation makes clear that Acthar is a “single source drug,” as discussed

further below. See Christensen v. Harris Cty., 529 U.S. 576, 587 (2000) (agency decisions set

forth in opinion letters entitled to less respect than those promulgated in notice-and-comment

rulemaking).

       Similarly, deference is not warranted because CMS has not even tried to explain, let

alone done so adequately, why it abandoned its earlier 2012 position that Acthar is eligible for a

distinct base date AMP. In Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117 (2016), the

Supreme Court declined to apply Chevron deference to a Department of Labor rule announcing

an abrupt change of agency position on whether a service advisor could constitute a “salesman”

for purposes of the Fair Labor Standards Act’s overtime compensation requirement. The Court

noted that the regulation “was issued without the reasoned explanation that was required in light

of the Department’s change in position and the significant reliance interests involved.” Id. at

2126. Based on that conclusion, the Court explained, “[i]t follows that this regulation does not

receive Chevron deference in the interpretation of the relevant statute.” Id. at 2127. See also


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Amarin Pharm. Ireland Ltd. v. FDA, 106 F. Supp. 3d 196, 217 (D.D.C. 2015) (Chevron

deference is appropriate “only if the agency has offered a reasoned explanation for why it chose

that interpretation.”) (emphasis added) (citing Village of Barrington, Ill. v. Surface Transp. Bd.,

636 F.3d 650, 660 (D.C. Cir. 2011)). The same principles apply with equal force here. Having

failed to even try to explain its change in position, CMS is not entitled to Chevron deference.

           B. CMS’s Determination Violates The Agency’s Own Regulations.

       Separate and apart from its violation of the statute, CMS’s determination also cannot be

squared with its own regulations, which make clear that a drug product produced or distributed

under an NDA is eligible for its own base date AMP, unless a “narrow exception” not available

here applies. 42 C.F.R. § 447.502.

       “A precept which lies at the foundation of the modern administrative state is that agencies

must abide by their rules and regulations.” Reuters Ltd. v. FCC, 781 F.2d 946, 947 (D.C. Cir.

1986); see also International Exports, Inc. v. Mattis, 265 F. Supp. 3d 35, 50 (D.D.C. 2017) (“It is

elementary that an agency must adhere to its own rules and regulations.”). When, as here, an

agency has promulgated a regulation through notice-and-comment rulemaking, that agency “is

itself bound by the rule until that rule is amended or revoked” and “may not alter [the rule]

without notice and comment.” See Clean Air Council v. Pruitt, 862 F.3d 1, 9 (D.C. Cir. 2017).

And while courts defer to agencies in interpreting their own ambiguous regulations in certain

circumstances—at least under current law41— courts extend no deference when such an




41
  There is good reason to doubt the continuing vitality of Auer deference. See Br. for
Respondent, Kisor v. Wilkie, No. 18-15 at 34–35 (U.S. Feb. 25, 2019) (explaining that the
“United States takes seriously the concerns about Seminole Rock [and Auer] deference” and
advocating the doctrine “be cabined”). Regardless, that deference does not save CMS’s plainly
erroneous interpretation here.
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interpretation is “plainly erroneous or inconsistent with the regulation.” See Auer v. Robbins,

519 U.S. 452, 461 (1997).

       CMS bound itself through notice-and-comment rulemaking to the position that the

statutory term “original NDA” in the earlier version of the statute means “an NDA, other than an

ANDA,” unless a “narrow exception” applies. See 42 C.F.R. § 447.502. In the preamble to the

Final Rule, CMS explained that this “narrow exception” does not apply to “drugs that received

patent protection or statutory exclusivity.” See 81 Fed. Reg. at 5191.42 In addition, the preamble

to the Final Rule makes clear that the “narrow exception” does not apply without “the

manufacturer’s written submission to CMS, and CMS’s response confirming that the exception

applies.” 81 Fed. Reg. at 5191–92. Although this language appeared in the preamble rather than

in the regulation itself, the agency chose language that was clear, unqualified, and categorical.

As a result, that language is binding upon the agency. See Kennecott Utah Copper Corp. v. U.S.

Dep’t of Interior, 88 F.3d 1191, 1222–23 (D.C. Cir. 1996) (agency may bind itself through

language in preamble that is “sufficiently clear”). At the very least, the preamble informs

interpretation of otherwise-ambiguous text of the regulation. See United Steelworkers of Amer.,

AFL-CIO-CLC v. Marshall, 647 F.2d 1189, 1224 (D.C. Cir. 1980) (using language in preamble

to interpret ambiguous language in regulation).

       CMS’s current position is flagrantly inconsistent with its own regulation. FDA approved

Acthar under “an NDA, other than an ANDA.” Because Acthar received statutory orphan-drug

exclusivity, Exhibit 1, it does not fall within the “narrow exception” clearly described by CMS in

the preamble to the Final Rule. See 81 Fed. Reg. at 5191–92. In addition, neither Mallinckrodt

42
  CMS reiterated this policy in a subsequent guidance document. CMS, Mfr. Release No. 98,
Drug Category Narrow Exception Guidance (May 2, 2016) (“The narrow exception will not be
granted under the following circumstances: . . . Drugs that received patent protection or statutory
exclusivity, regardless of whether the protection or exclusivity is currently in effect.”).
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nor Questcor made a written submission or received a written response confirming that the

“narrow exception” applies here, as required by the agency’s own articulated policy. Ibid.

       The agency has failed to articulate any basis for departing from the clear standard set

forth in the regulation. Indeed, CMS has never so much as indicated that it understands that it is

departing from this clear standard. Exhibits 7 through 12. Rather, it has simply ignored its own

regulation. That is an administrative-procedure no-no.

           C. CMS’s Determination Is Arbitrary And Capricious Because The Agency
              Failed to Explain Its Change In Position.

       Finally, CMS’s determination that Acthar is not a distinct “single source drug” eligible

for a distinct base date AMP directly reverses the agency’s affirmative statements to the contrary

in 2012. In order to effect such a change in position, an agency must justify its departure by

providing a “reasoned analysis.” Ramaprakash v. FAA, 346 F.3d 1121, 1124–25 (D.C. Cir.

2003). See also Friedman v. Sebelius, 686 F.3d 813, 828 (D.C. Cir. 2012) (agency decision

arbitrary and capricious because “it failed to explain its departure from the agency’s own

precedents”). That in turn “necessarily requires the agency to acknowledge and provide an

adequate explanation for its departure from established precedent.” See Dillmon v. Nat’l Transp.

Safety Bd., 588 F.3d 1085, 1089–90 (D.C. Cir. 2009). “An agency’s failure to come to grips

with conflicting precedent constitutes ‘an inexcusable departure from the essential requirement

of reasoned decision making.’” Ramaprakash, 346 F.3d at 1125.

       In August and September 2012, CMS stated clearly and unequivocally that it “agree[d]

that Acthar is eligible for a new base date AMP” because it was “approved under a new NDA.”

Exhibit 3 (Aug. 2012 letter); Exhibit 4 (Sept. 2012 letter) (reiterating that “because Acthar was

approved under a new NDA, Questcor may set a new base date AMP”). Years later, CMS

changed its tune. The agency is now asserting that Acthar is not eligible for a new base date
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AMP, even though it still was indisputably “approved under a new NDA.” See Exhibit 7 (March

20, 2017 email) (“We understand and agree that the new indication for Acthar was approved

under NDA 022432.”).

       Despite multiple requests for explanation, CMS has failed to explain its abrupt change in

position. In fact, the agency has declined to even acknowledge its contrary 2012 positions at all.

Exhibits 7 through 12. That omission renders the agency’s most recent position arbitrary and

capricious. See, e.g., Lone Mountain Processing, Inc. v. Secretary of Labor, 709 F.3d 1161,

1164 (D.C. Cir. 2013) (agency action unlawful when the agency “failed to even mention or

discuss, let alone distinguish” prior orders); Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d

914, 927 (D.C. Cir. 2017) (“The Service’s failure even to acknowledge its past practice and

formal policies regarding the Middle Section, let alone to explain its reversal of course in the

2013 decision, was arbitrary and capricious.”). After all, “the requirement that an agency

provide reasoned explanation for its action would ordinarily demand that it display awareness

that it is changing position. An agency may not, for example, depart from a prior policy sub

silentio or simply disregard rules that are still on the books.” FCC v. Fox Television Stations,

Inc., 556 U.S. 502, 515 (2009).

           D. CMS’s Determination Violates Principles of Fair Notice and Retroactivity.

       To make matters worse, CMS’s effort to force Mallinckrodt to “correct” Acthar’s base

date AMP in the DDR system would automatically trigger retroactive adjustments to Acthar’s

Medicaid drug rebates stretching all the way back to 2013—causing Mallinckrodt to lose

hundreds of millions of dollars. See National Drug Rebate Agreement, Section II(f); Declaration

of Kathleen Schaefer ¶ 14 .




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        State Medicaid agencies will automatically be notified that unit rebate amounts for past

periods have been changed. The manufacturer is then responsible for making adjustments to

account for any underpayments in those past periods. As the agency put it to Mallinckrodt

during the parties’ discussions: “Once Mallinckrodt certifies the corrected information, states

will receive notification on the subsequent rebate file, in the form of prior period adjustments,

which indicate that the [URA] has changed for the drug. Mallinckrodt will be responsible for

adjusting previous payments to the states using the Prior Quarter Adjustment Statement (PQAS)

in accordance with the URA changes.” Exhibit 9 (Nov. 6, 2018 letter from CMS).

        But, in 2012, the agency actively encouraged Questcor and Mallinckrodt—twice—to use

the now-disavowed base date AMP. Mallinckrodt relied in good faith on the agency’s

statements that Acthar was entitled to its own base date AMP—and remained in the Medicaid

Drug Rebate Program. CMS did not even begin to question its own pronouncements until 2016.

Exhibit 6. And, as noted above, to this date, the agency still has not given any explanation at

all—let alone an adequate explanation––for its complete reversal. Exhibits 7 through 10. As

such, CMS’s effort to penalize Mallinckrodt for relying on CMS’s firm pronouncements in 2012

violates basic principles of fair notice and the prohibition on retroactive application of new

agency policies.

                        1. CMS’s Effort to Impose Its New Policy Retroactively Violates
                           Principles of Fair Notice and Due Process.

        “A fundamental principle in our legal system is that laws which regulate persons or

entities must give fair notice of conduct that is forbidden or required.” FCC v. Fox Television

Stations, Inc., 567 U.S. 239, 253 (2012). For that reason, an agency seeking to apply an

interpretation of a statute or regulation to a regulated entity is held to a standard of “fair notice”

that must be given with “ascertainable certainty.” See General Elec. Co. v. EPA, 53 F.3d 1324,
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1328–29 (D.C. Cir. 1995). This core principle is especially critical in the administrative-law

context. It ensures that regulated entities need not “divine the agency’s interpretations in

advance” or face the threat of being “held liable when the agency announces its interpretations

for the first time in an enforcement proceeding and demands deference.” Christopher v.

SmithKline Beecham Corp., 567 U.S. 142, 159 (2012).

       The fair-notice rule is described this way: “If, by reviewing the regulations and other

public statements issued by the agency, a regulated party acting in good faith would be able to

identify, with ‘ascertainable certainty,’ the standards with which the agency expects parties to

conform, then the agency has fairly notified a petitioner of the agency’s interpretation.” General

Elec., 53 F.3d at 1329. But if the agency has not previously made its interpretation known with

“ascertainable certainty,” the agency’s conduct fails for lack of fair notice and due process. Id.

See also United States v. Chrysler Corp., 158 F.3d 1350, 1354–55 (D.C. Cir. 1998) (applying

“fair notice” test to administrative order requiring recall and noting “the well-established rule in

administrative law that the application of a rule may be successfully challenged if it does not

give fair warning that the allegedly violative conduct was prohibited”); SNR Wireless LicenseCo,

LLC v. FCC, 868 F.3d 1021, 1043 (D.C. Cir. 2017) (applying fair notice requirement to agency’s

denial of a request for bidding credits).

       CMS expressly confirmed that Acthar was eligible for a distinct base date AMP in

2012—not once, but twice. Exhibits 3 and 4 (Aug. and Sept. 2012 letters). Questcor (and later

Mallinckrodt) relied in good faith on CMS’s stated positions, reported the new base date AMP,

and continued to participate in the Medicaid Drug Rebate Program. Exhibit 2 (Questcor letter to

CMS noting that, without a change in the base date AMP, the company’s “continued

participation in the MDRP may simply be untenable because that participation generates greater


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rebate liability and negative revenues for the company”). Now that it is too late to remove

Acthar from the Medicaid Drug Rebate Program for each of those years, CMS has worked a

quintessential “unfair surprise” by changing its position on the Acthar base date AMP and

demanding retroactive rebate adjustments. Christopher, 567 U.S. at 156. That is not fair notice,

and it is not permissible. See General Elec., 53 F.3d at 1334 (“EPA thus may not hold GE

responsible in any way—either financially or in future enforcement proceedings—for the actions

charged in this case.”).

       That is true not just until April 2016, when CMS first began to question whether Acthar

was eligible for a distinct base date AMP. Exhibit 6. It also is true through today, because,

although CMS opaquely indicated in communications between April 2016 and April 2019 that it

believed that Acthar was not eligible for a distinct base date AMP, it provided vague and

inconsistent explanations that do not comport with either the facts or the statutory standard.

Exhibits 7 through 12. As noted above, CMS still has refused to provide even a cursory

explanation for its change in position from its 2012 letters, let alone acknowledge that it is, in

fact, changing position. The agency’s failure to grapple with its 2012 statements renders its 2016

and later pronouncements inadequate to effectuate a change in agency policy. CMS may not

apply its change in policy to Mallinckrodt for any period prior to such time as it acknowledges

and adequately explains its change in position.

                       2. CMS’s Decision Is Impermissibly Retroactive.

       For similar but legally distinct reasons, CMS’s determination also is unlawful because it

is impermissibly retroactive. “[T]he Administrative Procedure Act generally contemplates that

when an agency proceeds by adjudication, it will apply its ruling to the case at hand; when, on

the other hand, it employs rulemaking procedures, its orders ordinarily are to have only


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prospective effect.” Clark-Cowlitz Joint Operating Agency v. FERC, 826 F.2d 1074, 1082 (D.C.

Cir. 1987) (en banc). There are, however, exceptions to these general principles. In relevant

part, an agency may not retroactively apply a new position in an adjudication where it would

work an injustice by imposing a new rule on a regulated party without advance notice. See

Retail Wholesale & Dep’t Store Union v. NLRB, 466 F.2d 380 (D.C. Cir. 1972) (commonly

referred to as Retail Union).

       In order to protect regulated entities from policymaking by surprise, the D.C. Circuit

developed a set of five factors to assist courts in “deciding whether to grant or deny retroactive

force to newly adopted administrative rules”:

       (1) whether the issue is one of first impression, (2) whether the new rule
       represents an abrupt departure from well established practice or merely attempts
       to fill a void in an unsettled area of law, (3) the extent to which the party against
       whom the new rule is applied relied on the former rule, (4) the degree of the
       burden which a retroactive order imposes on a party, and (5) the statutory interest
       in applying a new rule despite the reliance of a party on the old standard.
Id. at 390; see also Clark-Cowlitz, 826 F.2d at 1081 (quoting and analyzing these factors);

Williams Nat. Gas Co. v. FERC, 3 F.3d 1544, 1553–54 (D.C. Cir. 1993) (same).

       Evaluating these five factors ultimately requires a court to engage in balancing. Clark-

Cowlitz, 826 F.2d at 1082 n.6. “In general, the ill effect of retroactivity is the frustration of the

expectations of those who have justifiably relied on a prior rule; the ill effect of prospectivity is

the partial frustration of the statutory purpose which the agency has perceived to be advanced by

the new rule.” McDonald v. Watt, 653 F.2d 1035, 1044 (5th Cir. Unit A Aug. 1981) (citing

Retail Union, 466 F.2d at 390). Determining which “side of this balance preponderates is in

each case a question of law, resolvable by reviewing courts with no overriding obligation of

deference to the agency decision . . . .” Retail Union, 466 F.2d at 390.



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       The first four factors all ask, essentially, whether it would be unfair to the party against

whom the new rule is applied for the rule to be applied retroactively. See, e.g., Clark-Cowlitz,

826 F.2d at 1097 (Mikva, Robinson, and Edwards, JJ., dissenting) (describing the first four

factors as “gaug[ing] the litigants’ personal interest in not being judged under a newly announced

standard”). When there has been a “substitution of new law for old law that was reasonably

clear,” “a decision to deny retroactive effect is uncontroversial.” Verizon Tel. Cos. v. FCC, 269

F.3d 1098, 1109 (D.C. Cir. 2001) (quoting Williams Nat. Gas Co., 3 F.3d at 1554). In such

circumstances, applying a “new rule to past conduct or prior events would work a ‘manifest

injustice.’” See Clark-Cowlitz, 826 F.2d at 1081. In sum, “[u]nless the burden of imposing the

new standard is de minimis, or the newly discovered statutory design compels its retroactive

application, the principles which underlie the very notion of an ordered society, in which

authoritatively established rules of conduct may fairly be relied upon, must preclude its

retroactive effect.” Retail Union, 466 F.2d at 392.

       Applying CMS’s change in position retroactively back to 2013 would work just such a

manifest injustice here:

       Factors One and Two: This case does not involve an agency position of first impression.

CMS previously considered this exact question—twice—and expressly came to the conclusion

that Acthar was eligible for a distinct base date AMP because it was “approved under” a new

NDA. Exhibits 3 and 4. Those statements, confirmed in writing, remained unquestioned by the

agency for four years. As a result, CMS’s more recent and opposite pronouncement was not

filling a void in the law; it was an abrupt change on an established agency position.

       Factor Three: Mallinckrodt—and Questcor before it—relied heavily on CMS’s position.

Indeed, as Mallinckrodt’s predecessor explained to CMS, were it not for agency’s assurances


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that Acthar was eligible for a distinct base date AMP, the company’s participation in the

Medicaid Drug Rebate Program would not have been financially tenable. Exhibit 2 (“If CMS

does not approve either of these alternatives, Questcor’s continued participation in the MDRP

may simply be untenable because that participation generates greater rebate liability and negative

revenue for the company.”). Based on CMS’s assurances that Acthar was eligible for a distinct

base date AMP, Mallinckrodt—and Questcor before it––remained in the Medicaid drug rebate

program. That is significant reliance. Cf. Northeast Hosp. Corp. v. Sebelius, 657 F.3d 1, 13

(D.C. Cir. 2011) (rule that altered calculation for Medicare payments impermissibly retroactive

when applied to prior fiscal years).43

       Factor Four: The burden imposed by retroactivity here is enormous. If allowed to take

retroactive effect back to 2013, CMS’s policy reversal subjects Mallinckrodt to additional

potential enforcement action and suspension of its participation in the Medicaid drug rebate

program. It also threatens Mallinckrodt with extensive financial liability in the hundreds of

millions of dollars. Declaration of Kathleen Schaefer ¶ 14.

       Factor Five: CMS has no legitimate interest in applying this new rule retroactively.

Indeed, it was the agency that originally took the position that Acthar is eligible for a new base

date AMP because it was “approved under” a new NDA. Exhibits 3 and 4. To this date, CMS

has failed to identify any policy that would support a reversal of that decision, let alone a reason

that the new policy should be applied retroactively. Exhibits 7 through 12.




43
  Northeast Hospital was decided under retroactivity principles in the rulemaking context, rather
than in an adjudication. Nonetheless, the concerns underlying the principle that retroactive
rulemaking is per se impermissible unless authorized by statute apply with equal persuasive
force here, where for years Mallinckrodt relied in good faith on a clear agency pronouncement.
That is precisely why the Retail Union line of cases exists.
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       All of the equities here line up in favor of Mallinckrodt. An agency’s word must have

some value; regulated entities are entitled to rely on express agency statements at the time they

act. “When a government agency officially and expressly tells you that you are legally allowed

to do something, but later tells you ‘just kidding’ and enforces the law retroactively against you

and sanctions you for actions you took in reliance on the government’s assurances, that amounts

to a serious due process violation.” PHH Corp. v. Consumer Fin. Prot. Bureau, 839 F.3d 1, 47–

49 (D.C. Cir. 2016), reh’g en banc granted, order vacated (Feb. 16, 2017), reinstated in relevant

part on reh’g en banc, 881 F.3d 75 (D.C. Cir. 2018).44 As then-Judge Kavanaugh put it:

       Put aside all the legalese for a moment. Imagine that a police officer tells a
       pedestrian that the pedestrian can lawfully cross the street at a certain place. The
       pedestrian carefully and precisely follows the officer’s direction. After the
       pedestrian arrives at the other side of the street, however, the officer hands the
       pedestrian a $1,000 jaywalking ticket. No one would seriously contend that the
       officer had acted fairly or in a manner consistent with basic due process in that
       situation.

Id. at 49. So too here. It would work a manifest injustice if CMS were permitted to force

Mallinckrodt to pay rebate adjustments dating back to 2013, notwithstanding the agency’s own

previous express assurances that Acthar was eligible for a distinct base date AMP. That is “Rule

of Law 101.” Id. at 48. See also id. at 113 (Tatel, J., concurring, joined by Millett and Pillard,

JJ.) (“For substantially the reasons given by the panel, I agree that the Bureau ran afoul of the

due process clause by failing to give PHH adequate notice in advance of imposing penalties for

past conduct.”).




44
   This case has a bit of a tortured history. On granting en banc review, the D.C. Circuit reversed
the panel decision. But then the en banc D.C. Circuit subsequently reinstated the panel opinion
“insofar as it related to the interpretation of RESPA and its application to PHH and Atrium in
this case.” PHH Corp., 881 F.3d at 83.
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 II.   MALLINCKRODT WILL SUFFER IRREPARABLE HARM ABSENT
       PRELIMINARY INJUNCTIVE RELIEF.

       Absent preliminary relief, Mallinckrodt will suffer severe and irreparable harm. CMS

has threatened to declare Mallinckrodt “out of compliance” in the DDR system on May 24, 2019.

Exhibit 12. CMS has also threatened to refer Mallinckrodt to the Department of Justice and/or

U.S. Department of Health and Human Services-Office of Inspector General for further review

and investigation. Id.

       The agency has spelled out the consequences of being labeled “out of compliance”:

“When [a drug product] is identified as out of compliance, the submission of pricing records or

updates to product data will not be allowed online or via file transfer.” Exhibit 9. In other

words, as of May 24, 2019, Mallinckrodt will be unable to report or revise drug pricing data for

Acthar in the DDR system. Mallinckrodt also could be subject to civil monetary penalties

(CMPs) for being out of compliance. 42 U.S.C. § 1396r-8(b)(3)(C)(i). In addition, under the

Medicaid drug rebate statute, when a manufacturer fails to report pricing data within ninety days

of a deadline, its National Drug Rebate Agreement (NDRA) is suspended for a period of at least

thirty days. 42 U.S.C. § 1396r-8(b)(3)(C)(i). And because it is the NDRA that is the condition

precedent to states’ obligation to cover a manufacturer’s covered outpatient drugs, if

Mallinckrodt’s NDRA is suspended, states will no longer be required to cover Mallinckrodt’s

covered outpatient drugs, including Acthar. See 42 U.S.C. § 1396r-8(d). In plain English:

absent judicial intervention, Mallinckrodt will face CMPs and the prospect of not having its

products covered under the Medicaid program by August 28, 2019.

       All of this will have drastic consequences for Mallinckrodt. First and foremost, the

financial harm alone to the company will be significant, totaling over one hundred million

dollars a year. Declaration of Kathleen Schaefer ¶ 6. If allowed retroactive effect (back to
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2013), the company will also lose an additional hundreds of millions of dollars. Id. ¶ 14. That

financial loss will affect the company’s ability to continue the current pace of investment in

clinical programs for Acthar Gel, one of which is for a new indication for ALS. Id. ¶ 6. In

addition, the losses will affect Mallinckrodt’s ability to continue its current pace of investment in

clinical programs designed to launch new drugs and therapies for conditions in which there are

currently no treatments. Id.

       Monetary losses such as these can constitute irreparable harm when they are “certain,

imminent, and unrecoverable.” Texas Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 242

(D.D.C. 2014) (quoting National Mining Ass’n v. Jackson, 768 F. Supp. 2d 34, 52 (D.D.C.

2011)). This is particularly true in APA cases. “While plaintiffs are entitled to injunctive relief,

they are plainly not entitled to money damages from the agency based on its violation of

the APA.” Iyengar v. Barnhart, 233 F. Supp. 2d 5, 15 (D.D.C. 2002). For this reason, courts

have repeatedly recognized that substantial and imminent financial harms to regulated entities

based on unlawful agency action—particularly involving Medicaid and Medicare payments—are

irreparable. See, e.g., Texas Children’s Hosp., 76 F. Supp. 3d at 242 (finding irreparable harm

where enforcement of CMS policy would lead to “unrecoverable” losses); California

Pharmacists Ass’n v. Maxwell-Jolly, No. CV-09-8200 CAS, 2010 WL 11507584, at *10 (C.D.

Cal. May 5, 2010) (finding irreparable harm where state Medicaid agency’s reduction in

pharmacist reimbursements caused monetary losses); Nat’l Med. Care, Inc. v. Shalala, No. 95-

0860 (WBB), 1995 WL 465650, at *3 (D.D.C. June 6, 1995) (finding irreparable harm based on

administrative costs associated with “immediate and massive re-billing efforts” required by

compliance with Medicare payment-obligation rule).




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       In addition to the potential for civil monetary penalties and other monetary losses,

Mallinckrodt faces imminent and irremediable harm to its reputation, goodwill, and market

standing as a result of being publicly deemed “out of compliance.” Declaration of Kathleen

Schaefer ¶ 10. Indeed, the day after announcing CMS’s decision, Mallinckrodt’s stock price

dropped 24 percent and its credit ratings were downgraded by Moody’s. Id. ¶¶ 8–9. Once lost,

the reputation Mallinckrodt has garnered cannot be recovered after the fact in litigation. These

harms are more than sufficient to justify a preliminary injunction. See, e.g., Patriot, Inc. v.

HUD, 963 F. Supp. 1, 5 (D.D.C. 1997) (“Plaintiffs’ reputation will be damaged by HUD’s

characterization of them in the March 17 letter as ‘enticing’ senior citizens into meetings, and

‘pressuring’ them to obtain reverse mortgages ‘under the guise of sound estate planning.’”); see

also Atlas Air, Inc. v. International Bhd. of Teamsters, 280 F. Supp. 3d 59, 103–104 (D.D.C.

2017) (finding reputational harms associated with air-traffic delays to be irreparable to plaintiff’s

express cargo delivery service).

       The only way that Mallinckrodt could avoid this fate would be to comply with CMS’s

demand that it update the base date AMP for Acthar in the DDR. But updating the base date

AMP would require Mallinckrodt to provide false information to CMS, which would present its

own risks and liabilities. CMS therefore has put Mallinckrodt between the proverbial rock and a

hard place. That, too, constitutes sufficient irreparable harm to justify a preliminary injunction.

       Finally, CMS’s threatened enforcement action violates due process principles by

depriving Mallinckrodt of fair notice for conduct taken in good-faith reliance on the agency’s

prior position. That constitutional deprivation is per se irreparable. See, e.g., Gordon v. Holder,

721 F.3d 638, 653 (D.C. Cir. 2013).




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III.   GRANTING PRELIMINARY INJUNCTIVE RELIEF WOULD ADVANCE THE
       PUBLIC INTEREST.

       The public interest also favors a preliminary injunction, as it will ultimately be the public

that pays the price of CMS’s error. Absent judicial intervention, once Mallinckrodt is declared

out of compliance, Mallinckrodt’s NDRA will automatically be suspended 90 days after the next

reporting deadline. 42 U.S.C. § 1396r-8(b)(3)(C)(i). That in turn will mean that states will no

longer be required to cover Acthar. Verified Complaint ¶ 87. Medicaid patients, by definition

among the poorest of Americans, with serious medical conditions—including multiple sclerosis,

nephrotic syndrome, and allergic and inflammatory ophthalmic processes—could lose critical

access to Acthar. Id. ¶ 88. Even a temporary interruption of access to the drug could exacerbate

some of these diseases. For example, patients suffering from Systematic Lupus Erythematosus

face serious adverse consequences, including a significantly increased rate of flare-ups with the

disease, when their Acthar treatment is interrupted. Declaration of Kathleen Schaefer ¶ 12.

Moreover, these patients may also face a higher incidence of baseline rate of disease activity. Id.

       Medicaid patients thus will benefit from a preliminary injunction maintaining the status

quo and ensuring continued access to Mallinckrodt’s covered outpatient drugs, including Acthar.

“Courts have frequently found that it is in the public interest to issue an injunction in connection

with the Medicaid Act.” Texas Children’s Hosp., 76 F. Supp. 3d at 246. See also Independent

Living Ctr. v. Maxwell–Jolly, 572 F.3d 644, 659 (9th Cir. 2009) (“there is a robust public interest

in safeguarding access to health care for those eligible for Medicaid, whom Congress has

recognized as the most needy in the country.”); Planned Parenthood of Gulf Coast, Inc. v. Gee,

862 F.3d 445, 470 (5th Cir. 2017) (preliminarily enjoining state agency from decertifying certain

healthcare providers so as to deny patients the ability “to obtain medical care from the Medicaid

provider of their choice”); Pashby v. Delia, 709 F.3d 307, 331 (4th Cir. 2013) (preliminarily

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enjoining state agency from enforcing policy change that would deny certain previously eligible

patients from receiving in-home personal care services under Medicaid); Bontrager v. Indiana

Family & Soc. Servs. Admin., 697 F.3d 604, 611 (7th Cir. 2012) (preliminarily enjoining state

agency from enforcing cap on Medicaid-funded dental services regardless of medical necessity

of the underlying procedure); Libbie Rehab. Ctr., Inc. v. Shalala, 26 F. Supp. 2d 128, 132

(D.D.C. 1998) (preliminarily enjoining HHS from terminating rehabilitation facility’s

participation in Medicaid and Medicare programs when patients would have been transferred

from the facility).

        More generally, the public interest also favors faithful compliance with the law. “There

is generally no public interest in the perpetuation of unlawful agency action. To the contrary,

there is a substantial public interest ‘in having governmental agencies abide by the federal laws

that govern their existence and operations.’” League of Women Voters of United States v.

Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (citations omitted). See also N. Mariana Islands v.

United States, 686 F. Supp. 2d 7, 21 (D.D.C. 2009) (“The public interest is served when

administrative agencies comply with their obligations under the APA.”); Mova Pharm. Corp. v.

Shalala, 140 F.3d 1060, 1066 (D.C. Cir. 1998) (highlighting “the public’s interest in the ‘faithful

application of the laws’”). Accordingly, this factor weighs in favor of granting a preliminary

injunction.

IV.     THE BALANCE OF THE EQUITIES FAVORS PRELIMINARY INJUNCTIVE
        RELIEF.

        The balance of the equities tips in favor of an injunction to preserve the status quo.

Mallinckrodt’s side of the ledger is straightforward: Absent injunctive relief, Mallinckrodt will

suffer imminent and enormous harms that cannot be recouped at the end of these proceedings,



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and patients may lose access to the drug product. By contrast, CMS and State Medicaid agencies

face no harm from having to operate under the status quo.

       Unlike the severe and irreparable harm facing Mallinckrodt, a preliminary injunction here

would merely permit Mallinckrodt to continue reporting in DDR under the old base date AMP

and temporarily bar enforcement of CMS’s newfound policy regarding Acthar’s base date AMP.

See Nat’l Med. Care, Inc. v. Shalala, No. 95-0860 (WBB), 1995 WL 465650, at *4 (D.D.C. June

6, 1995). That is, if ordered to “await a full consideration of the merits” before taking

necessarily backwards-looking enforcement action, CMS “will only have implemented its

retroactive policies . . . at a later date.” Id. The only loss the agency faces is delay. And because

this is an APA case raising purely legal questions reviewed on the basis of the administrative

record, the length of such delay would be minimal, especially if this Court were to combine its

resolution of this motion with a final merits ruling. See FBME Bank Ltd. v. Lew, 125 F. Supp. 3d

109, 129 (D.D.C. 2015) (concluding that delay of enforcement action was “especially” unlikely

to harm the government’s asserted national-security interests because of expedited briefing

schedule).

                                         CONCLUSION

       For these reasons, Mallinckrodt’s motion for a preliminary injunction should be granted;

this Court should bar Defendants and all others in active concert or participation with them

(including other branches of the federal government) from suspending Mallinckrodt’s

participation in the Medicaid Drug Rebate Program and/or taking any further action based on

CMS’s determination that Acthar is not entitled to a distinct base date AMP pending a final

resolution on the merits.




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                                    Respectfully submitted,

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Dated: May 22, 2019




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